           Case 1:16-vv-01364-UNJ Document 25 Filed 09/29/17 Page 1 of 2




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 16-1364V
                                     Filed: March 16, 2017
                                          Unpublished

****************************
PAULETTE R. MILINER,        *
                            *
                Petitioner, *
v.                          *
                            *                              Attorneys’ Fees and Costs;
SECRETARY OF HEALTH         *                              Special Processing Unit (“SPU”)
AND HUMAN SERVICES,         *
                            *
                Respondent. *
                                                  *
****************************
Nancy R. Meyers, Ward Black Law, Greensboro, NC, for petitioner.
Darryl R. Wishard, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS 1

Dorsey, Chief Special Master:

       On October 19, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleged that she suffered Guillain-Barré Syndrome (“GBS”) as
a result of receiving the influenza (“flu”) vaccine on December 4, 2015. On February 15,
2017, the undersigned issued a decision awarding compensation to petitioner based on
the parties’ joint stipulation. (ECF No. 16).

       On March 10, 2017, petitioner filed an unopposed motion for attorneys’ fees and
costs. (ECF No. 20). 3 Petitioner requests attorneys’ fees in the amount of $10,830.00
1 Because this unpublished decision contains a reasoned explanation for the action in this case, the

undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
3 The motion was filed as an unopposed motion, and in the motion, petitioner states that respondent,
through counsel, does not object to the overall amount sought, as it is not an unreasonable amount to
           Case 1:16-vv-01364-UNJ Document 25 Filed 09/29/17 Page 2 of 2



and attorneys’ costs in the amount of $1,302.28 for a total amount of $12,132.28. Id. at
1. In compliance with General Order #9, petitioner has filed a signed statement
indicating she incurred no out-of-pocket expenses.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s motion for attorneys’ fees and
costs.

      Accordingly, the undersigned awards a lump sum amount of $12,132.28, 4
representing reimbursement for attorneys’ fees and costs, in the form of a check
payable jointly to petitioner and petitioner’s counsel, Nancy R. Meyers.

        The clerk of the court shall enter judgment in accordance herewith. 5

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




have been incurred for proceedings in this case to date. Respondent’s lack of objection to the amount
sought in this case should not be construed as an admission, concession, or waiver as to the hourly rates
requested, the number of hours billed, or the other litigation related costs. Mot. at 1.
4 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all

charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

5 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                     2
